            Case 1:15-cr-00503-JKB Document 110 Filed 06/10/19 Page 1 of 2


                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                  *

UNITED STATES OF AMERICA                          *

       v.                                         *          CRIMINAL NO. JKB-15-503
                                                             CIVIL NO. JK-19-0815

SWAIN CLARKE,                                     *

       Defendant                                  *

        *       *      *      *       *       *       *      *       *      *       *       *

                               MEMORANDUM AND ORDER

       Now pending before the Court is the Defendant’s MOTION TO VACATE PURSUANT

TO 28 U.S.C. § 2255 (ECF No. 103). The Government has responded (ECF No. 106) and the

Defendant has replied (ECF No. 107). The Court is intimately familiar with the record in this case.

Further, the Court has carefully reviewed the Defendant’s most recent submissions, including his

motion to vacate (ECF No. 103). The Motion is without grounds. The Court adopts the arguments

and reasoning submitted by the Government in their Response (ECF No. 106) as its own and, on

the basis of that analysis, DENIES THE MOTION (ECF No. 103).

       A certificate of appealability may issue only if the defendant has made a substantial

showing of the denial of a constitutional right. 28 U.S.C. § 2253(c)(2). See also Slack v.

McDaniel, 529 U.S. 473, 484 (2000). In order to satisfy § 2253(c), a defendant must demonstrate

that reasonable jurists would find the district court’s assessment of the constitutional claims

debatable or wrong. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003) (citing Slack, 529 U.S. at

484). Defendant has failed to meet the standard for a certificate of appealability. Therefore, it is

DENIED.

       The Clerk is directed to CLOSE THE CIVIL CASE.
 Case 1:15-cr-00503-JKB Document 110 Filed 06/10/19 Page 2 of 2


DATED this 10th day of June, 2019.

                                         BY THE COURT:


                                                        /s/
                                         James K. Bredar
                                         United States District Judge




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